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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

MELINDA OLSEN                                                               CIVIL ACTION

VERSUS                                                                      NO. 20-268

JEFFERSON PARISH                                                            SECTION M (5)


                          SCHEDULING CONFERENCE NOTICE

        Due to a scheduling conflict, the telephone scheduling conference currently set for June 9,
2021, at 9:30 a.m., will be reset to June 23, 2021, at 10:30 a.m., for the purpose of rescheduling
a pre-trial conference and trial on the merits. The Court will be represented at the conference by
its Case Manager. All parties are to call into the conference call at (877) 873-8018,
Access Code: 2994682.

If any party has a conflict with the selected date or time of the conference, they should
notify the case manager at the email address listed below.

        TRIAL COUNSEL are to participate in this conference. If, however, you are unable for
good cause to do so, another attorney in your firm may participate if acquainted with all details of
the case and authorized to enter into any necessary agreements.


                                               CHERIE CHARLES
                                               CASE MANAGER, SECTION M
                                               (504) 589-7703
                                               Cherie_Charles@laed.uscourts.gov



COUNSEL ARE TO COMPLY WITH THE DISCLOSURE REQUIREMENTS OF RULE
26(a)(1) and 26(f), LOCAL RULE 26 AND THE CORPORATE DISCLOSURE
REQUIREMENTS OF F.R.C.P. 7.1. COUNSEL ARE TO BE PREPARED TO ANSWER
THE ATTACHED QUESTIONS CONCERNING DISCLOSURE.


COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS
NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY THIS
NOTICE.
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                        IMPORTANT NOTICE TO COUNSEL

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING QUESTIONS
REGARDING DISCLOSURE AT THE CONFERENCE:

1.   Have all parties completed your Rule 26(a)(1) mandatory initial disclosures?

2.   Have all parties stipulated that initial disclosures under Rule 26(a)(1) will not be made
     in this case?

3.   Do any of the parties’ object to making Rule 26(a)(1) initial disclosures in this case?
     *

4.   Have the corporate parties filed their corporate disclosure statement?


*WRITTEN OBJECTIONS MUST BE FILED THREE WORKING DAYS PRIOR TO
THE SCHEDULING CONFERENCE.
